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                    EXHIBIT 2

         Emergency Motion




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION


VC MACON GA, LLC,

                              Plaintiff,

       v.

                                                           Civil Action No. 18-CV-00388-TES
VIRGINIA COLLEGE, LLC and
EDUCATION CORPORATION OF
AMERICA,


                              Defendants.


 EMERGENCY MOTION FOR THE APPOINTMENT OF A RECEIVER AND ENTRY
  OF A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION


       COMES NOW DEFENDANT VIRGINIA COLLEGE, LLC (“Defendant”), its PARENT

DEFENDANT EDUCATION CORPORATION OF AMERICA, and its AFFILIATE NEW

ENGLAND COLLEGE OF BUSINESS AND FINANCE, LLC (collectively, “ECA” or

“Debtors”), by and through counsel, and move this Court immediately to appoint a Federal

Receiver (“Receiver”) to oversee the affairs of ECA and for the entry of a Temporary Restraining

Order and Preliminary Injunction and state as follows.

                                      INTRODUCTION

       Because of the exigent circumstances that are present in this specific matter, as well as in

the affairs of Defendants in general (as more fully described below), Defendants file this

Emergency Motion for the Appointment of a Receiver and the entry of a Temporary Restraining

Order and Preliminary Injunction (the “Emergency Motion”) to seek immediate relief so as to

prevent irreparable harm to ECA’s institutions, which are in grave danger of being abruptly shut

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down by creditors such as VC Macon GA, LLC (“Plaintiff”), thereby unnecessarily interrupting

and/or disrupting the educational missions of ECA’s institutions and its students. The Receiver

appointed by this Court will be empowered through obtaining additional credit to preserve ECA’s

educational mission and the Temporary Restraining Order and Preliminary Injunction will prevent

the unnecessary disruption of the Receiver’s work, allow the students to pursue their educational

plans without undue interruption and also preserve assets and maximize any potential return to

ECA’s creditors, including Plaintiff, through the going concern sale of the Go-Forward Schools,

defined below.

       Defendants request that the Court enter an order appointing the Receiver that will contain

input from Plaintiff, Defendants and interested third-parties, if any. Defendants propose that the

order provide for (a) the appointment of a receiver of ECA to do all the things which the board and

management of ECA may do in the exercise of ordinary business judgment or in the ordinary

course of the operation of ECA’s business as a going concern and take and maintain full possession

of all its property to facilitate the administration of its business and an orderly implementation of

the restructuring plan outlined herein to ensure that ECA’s assets are put to their best use in service

to its schools, students and creditors and (b) for the entry of a Temporary Restraining Order and

Preliminary Injunction restraining and enjoining the commencement or continuation of any

judicial, administrative, or other action or proceeding against ECA that was or could have been

commenced before the entry of the order of appointment, or to recover a claim against the debtors

that arose before the entry of the order of appointment, the enforcement of any judgment against

ECA obtained before the entry of the order of appointment, including any action to obtain

possession of ECA’s property or dispossess ECA from any possessory interest.




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                                        I.      FACTS

A.     Background

       ECA’s revenues flow almost exclusively from tuition and fees paid by its students, a

significant majority of whom utilize federal grants and student loans provided under the Higher

Education Act of 1965 (the “HEA”), 20 U.S.C. § 1001 et seq. See Declaration of Michael

Ranchino (“Ranchino Declr.”) at ¶ 6, attached hereto as Exhibit 1. Like most career colleges,

ECA’s student population largely comprises nontraditional students, such as unemployed or

underemployed adults, who are seeking to obtain job skills in order to find employment or to

change careers.

       Enrollment in many of ECA’s campuses has been falling for several years. Id. The decline

in enrollment can be attributed to numerous regulatory and macroeconomic factors, including: the

previous Administration’s decision to remove the federal recognition of the Accrediting Council

for Independent Colleges and Schools (“ACICS”), the agency that accredits nearly all of ECA’s

institutions, which required ECA to advise potential students of potentially dire consequences if

ECA was unable to obtain alternate accreditation within a specified time frame, thereby causing

some potential students to choose not to enroll or remain enrolled; and the recent upturn in the

business cycle that has lowered the unemployment rate to historic levels, so that more of the

nontraditional students typically enrolled in ECA’s institutions are able to find employment

without the need for more education or training. Id.

       ECA has four campuses and a substantial portion of its staff located in Georgia. There are

approximately 1163 students pursuing academic programs across the four campuses, with

approximately 828 students attending Go-Forward Schools and 335 students attending Teach-Out

Schools. ECA has approximately 251 employees in Georgia directly supporting the students and

campuses. Id. at ¶ 10.
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B.       Financial Issues and Current State of Claims

         Consistent with trends in career education enrollment, ECA’s institutions’ student

populations have declined significantly in recent years. Because ECA’s revenues are produced

almost entirely by tuition and fees paid by students, the enrollment decline has negatively impacted

ECA’s financial condition and cash flow, such that ECA for months has not been able to timely

service all of its financial obligations or timely meet its payables. ECA has been focused on

marshaling its dwindling financial resources to maintain its campuses and its educational programs

and services for its students. Ranchino Declr. at ¶ 11.

         i.       ECA Landlord Obligations

         As of October 5, 2018, ECA had unsecured debt owing to 1,033 vendors and landlords

amounting to approximately $46,773,000. Id. at ¶ 12. In the ordinary course of its business,

ECA’s institutions lease real estate to operate at their various campuses and headquarters. A list

of ECA’s institutions’ leased real estate is contained in Exhibit 2, which is attached hereto and

incorporated by reference herein. Id. at ¶ 13. Several ECA campuses are presently the subject of

landlord actions to recover on alleged claims for monetary judgments, which are ongoing, as well

as to dispossess ECA from possession of such campuses, and ECA is a party to other ongoing

commercial and employment litigation and arbitration proceedings. 1




1
  On October 16, 2018, ECA filed a Declaratory Judgment action against the Department of Education (“DOE”) in
the United States District Court for the Northern District of Alabama (Case No. 2:18-cv-01698-AKK) seeking a
declaration that the restructuring plan contemplated by ECA (described herein) would not interfere with the access
and eligibility of ECA institutions that are expected to continue operating in the ordinary course under the restructuring
plan, and the students attending those institutions, to benefits under Title IV of the Higher Education Act of 1965 (the
“HEA”), including the ability to participate under the HEA student financial aid programs by any successor to ECA.
ECA also filed an Emergency Motion for the Appointment of a Receiver and Entry of a Temporary Restraining Order
and Preliminary Injunction. After entering a TRO in favor of ECA, on November 5, 2018, the Court dismissed the
action for lack of subject matter jurisdiction, finding that there was not a case or controversy between ECA and the
DOE. There can be no dispute that a case or controversy exists between Plaintiff and ECA. Further, jurisdiction in
the instant proceeding is premised upon diversity, as well as the federal questions raised by Plaintiff in its complaint.
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       ECA’s outstanding secured and unsecured obligations and lack of liquidity prohibit

Defendants from generally paying their obligations as they come due. The projected costs and net

revenues associated with the Teach-Out Schools, as well as the claims of landlords resulting from

the early termination of leases at the Teach-Out Schools, will exacerbate ECA’s liquidity issues.

Further, pending lawsuits threaten to strain ECA’s ability to operate in the ordinary course and

respond to claims of creditors. ECA needs to prevent a rush to judgment and attachment on its

assets by landlords and other creditor, in order that the financially viable institutions (“Go-Forward

Schools”) may be sold to the party that submits the highest or otherwise best bid to acquire the

Go-Forward Schools while ensuring that the students in the institutions that ECA plans to close

(“Teach-Out Schools”) have an opportunity to complete their programs. Id. at ¶ 17. Attached as

Exhibit 3 is a list of Go-Forward Schools. Attached as Exhibit 4 is a list of Teach-Out Schools.

       On or about September 10, 2018, ECA announced that it intended, in accordance with the

expectations of the HEA, to discontinue new enrollments and to teach out the students already enrolled

at twenty-six of its campuses, after which it intended to close those twenty-six campuses. These

schools remain vital assets of ECA, as the regulations governing teach-out require that the students

be able to complete their degrees at the campus at which they are enrolled, unless sooner

transferred. While ECA seeks opportunities to transfer the students to alternate campuses or

otherwise sooner fulfill its HEA requirements, or otherwise mitigate the costs associated with the

teach-out, there can be no assurance at this time that ECA will be able to transfer the students at

Teach-Out Schools to other campuses, whether owned and operated by ECA or another institution.

Accordingly, ECA plans to remain in possession of all or most Teach-Out School campuses at

least through June 2019, certain campus teach-out programs are anticipated to continue through

the end of 2019, and maintain its educational programs and services at those Teach-Out School


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campuses through that date for the benefit of students, who are still enrolled at that time, subject

to the receivership estate’s administration of the Teach-Out Schools. Id. at ¶ 14.

        ECA further intends to continue to operate each of the Go-Forward Schools, subject to the

receivership estate’s administration of the Go-Forward Schools. Id. at ¶ 15.



        ii.     ECA’s Capital Structure

        On October 15th, Plaintiffs entered into that certain 8th Amendment to the Credit

Agreement (as amended time to time, the “Monroe Credit Agreement”), with Monroe Capital

Management Advisors, LLC (“Monroe”), as administrative agent and collateral agent, and each of

the lender parties thereto (the “Monroe Lenders”). Id. at ¶ 12.

        Under the Monroe Credit Agreement, the Monroe Lenders agreed to lend $16 million to ECA

(as amended from time to time, the “Monroe Term Loan”). As of the commencement of these

proceedings the outstanding principal balance owing to the Monroe Lenders is $19 million. Id.

        All obligations under the Monroe Credit Agreement are secured by a first priority security

interest in all of ECA’s assets, including all equity interests in the respective subsidiaries. Id.

        In connection with entering into the 8th Amendment, ECA and the Monroe Lenders

provided a mechanism for a $12 million tranche of funding to be advanced to the ECA receivership

estate upon approval by the Court and a second $7 million tranche of funding to be advanced to

the ECA receivership estate upon approval by the Court. Without having received funding on

October 15, 2018, ECA would have been materially challenged to meet its payroll obligations

during the week of October 15th. ECA anticipates that it will require additional capital of $12

million by the first week in November 2018 and additional capital of $7 million by the first week

in December 2018. Thereafter, beginning in January 2019, ECA projects that it will operate on a

cash-flow-positive basis. Id.
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       iii.    Efforts to Fund Operations, Stabilize, and Facilitate a Sale

       ECA has limited options available to it, but to seek the restructuring of its operations and

debts through a federal receivership, which is the only way in which it can preserve the ability of

the Go-Forward Schools to serve their students and the Teach-Out Schools to fulfil their regulatory

requirements to teach out the students, while also permitting ECA’s directors and officers to

maximize the value of the ECA enterprise for the benefit of ECA’s stakeholders. Id. at ¶ 22. Most

significantly, additional capital will only be made available to ECA through the receivership where

ECA’s funding sources may be assured that such additional advances will be used to complete the

teach-out and bridge to a going concern sale of the Go-Forward Schools.

       Without the protections provided by a receiver and the requested stay and injunction, ECA

will not be able to access such additional funding and ECA’s institutions will not be able to

complete the teach-out of the Teach-Out Schools or reorganize or sell the Go-Forward Schools.

Id. at ¶ 23. Seeking protection in a traditional bankruptcy filing is not an option for ECA because

the HEA specifically defines an “eligible institution” as one that, inter alia, has not filed for

bankruptcy. 20 U.S.C. § 1002 (a)(4)(A).

       iv.     Restructuring Plan in Principle

       ECA has determined that to operate successfully, it needs to close the 26 Teach-Out

Schools and restructure its capital structure or sell the remaining business in order to maximize

enterprise value and permit the Go-Forward Schools to operate without the drag of the legacy

claims of landlords and other vendors arising from the Teach-Out Schools’ closure and otherwise

from its excessive overhead. ECA has worked diligently to shrink its overhead, but these savings

alone are insufficient to turn the corner on ECA’s ability to operate profitably. Id. at ¶ 24.

       Under the proposed restructuring plan (the “Restructuring Plan”), the Monroe Lenders, or

certain of them (in their capacity as a bidder for the assets of ECA, the “Stalking Horse”) has offered
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to purchase the Go-Forward Schools and ECA’s management platform by credit bidding ECA’s

Receivership Financing Obligations, plus assume certain liabilities and certain beneficial contracts

and leases, plus use the purchased management platform to continue to administer the Teach-Out

Schools and pay the Teach-Out Schools’ negative operating cash flow (“Stalking Horse Bid”),

pursuant to which ECA would transfer the Go-Forward Schools and management platform assets

free and clear of all claims, liens and encumbrances. The receivership estate would retain the

Teach-Out Schools, which upon completion of the teach-out process would undergo an orderly

windup in compliance with all state and federal laws and regulations and all accreditation

requirements. Id. at ¶ 25.

       Defendant requests that the federal receivership estate comprise all assets, property rights

and defenses of ECA, much like a bankruptcy estate under 11 U.S.C. § 541. Defendant requests

that the Court appoint Sean M. Harding of FTI Consulting as receiver (“Receiver”) and that the

Receiver be given broad authority over the receivership estate, similar to the role of a chief

restructuring officer, leaving in place ECA’s boards of directors and management and other

employees to continue to operate ECA’s business and operate the institutions in the ordinary

course, subject to the boards’ and Receiver’s direction, and to grant to the Receiver the power to

direct restructuring transactions such as the Receivership Financing and the sale of ECA’s assets.

        This Court has national jurisdiction over all assets, by whomsoever held, wherever located

within the United States, and the ability to channel all claims that have accrued as of the

commencement of these proceedings and thereafter, including without limitation, those against the

Teach-Out Schools and ECA directly, or as guarantor, into the receivership estate for ratable

distribution of the remaining assets.




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C.      Regulatory Challenges

        ECA institutions and students are eligible for federal student aid programs under Title IV

of the HEA. 2 ECA’s institutions operate in a highly regulated environment. They are subject to

oversight by various federal and state regulatory authorities including, most prominently, the

Department of Education (“DOE”), as well as their accrediting agencies. Ranchino Declr. at ¶ 7.

        The regulatory bodies that govern the Plaintiffs’ operations, including but not limited to

the DOE and the following State Authorities and Accrediting Agencies, are aware of this

receivership filing: Alabama Community College System; Arizona State Board of Private

Postsecondary Education; California Bureau of Private Postsecondary Education; Colorado

Division of Private Occupational Schools; Florida Commission for Independent Education;

Georgia Nonpublic Postsecondary Education Commission; Indiana Board for Proprietary

Education; Louisiana Board of Regents; Maryland Higher Education Commission; Massachusetts

Department of Higher Education; Mississippi Commission for Postsecondary School and College

Registration; Nevada Commission on Postsecondary Education; North Carolina Community

College System; University of North Carolina Board of Governors; Ohio State Board of Career

Colleges and Schools; Ohio Department of Higher Education; Pennsylvania Board of Private

Licensed Schools; South Carolina Commission on Higher Education; Tennessee Higher Education

Commission; Texas Workforce Commission; Texas Higher Education Coordinating Board; State

Council of Higher Education for Virginia; Accrediting Council for Independent Colleges and

Schools (“ACICS”); and New England Commission on Higher Education, Inc. Id. at ¶ 8.

        Following its review of ECA’s fiscal year 2016 audited financial statements, the DOE in a

letter dated October 18, 2017, calculated ECA’s financial responsibility composite score


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 For the avoidance of doubt, ECA subsidiaries Culinard, LLC, and J.Y. Monk Real Estate Training Center, Inc. are
not so eligible.
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(“Composite Score”) as 1.2 and determined that ECA therefore failed to meet the financial

responsibility standards outlined in 34 C.F.R. § 668.172. As a result, ECA chose to continue to

participate in the Title IV programs under the Zone Alternative described in 34 C.F.R. § 668.175.

Under the Zone Alternative, DOE placed ECA in provisional certification status and required ECA

to make (a) Title IV program disbursements under the Heightened Cash Monitoring payment

method; (b) mandatory notifications to the DOE should any one of a number of potential events

occur; and (c) additional quarterly reports to the DOE about various financial and operational

matters. Id. at ¶ 18. The DOE notified ECA in a subsequent letter dated February 29, 2018, of

additional financial and operational reporting requirements arising from its review of the fiscal

year 2016 audited financial statements. Id. at ¶ 19.

       ECA submitted its fiscal year 2017 audited financial statements to the DOE on or about

June 28, 2018. ECA simultaneously submitted to the DOE a Statement of Support explaining that

certain extraordinary items and changes in accounting estimates should be considered when

calculating ECA’s 2017 Composite Score. The DOE in August asked ECA to file voluminous

operational and financing records to aid in its review of the fiscal year 2017 audited financial

statements. If DOE rejects the arguments outlined in the Statement of Support, then DOE will

calculate the 2017 Composite Score as less than 1.0. Id. at ¶ 20.

       If ECA’s 2017 Composite Score as determined by DOE is under 1.0, then ECA and its

students will not be able to continue to participate in the Title IV programs unless ECA posts an

irrevocable letter of credit with the DOE representing a percentage of ECA’s fiscal year 2017 Title

IV disbursements, which ECA would be unable to provide. Id. at ¶ 21.




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D.      Irreparable Harm Will Occur to ECA and Its Students Unless a Receiver is
        Immediately Appointed and a Temporary Restraining Order and Preliminary
        Injunction Against Other Claims is Entered

        The immediate appointment of the Receiver and the entry of an injunction staying and

barring other claims is necessary to prevent Plaintiffs and their students from suffering immediate

and irreparable harm. The Receiver is necessary to the orderly oversight and administration of the

teach-out and delivery of educational programs to students enrolled at the Teach-Out Schools and,

after closure of those campuses, the orderly disposition of their assets under the supervision of this

Court. The entry of a Temporary Restraining Order and Preliminary Injunction, including an

injunction against eviction proceedings, is necessary to prevent a race to ECA’s assets and the

resulting disruption of the teach-out process to the detriment of thousands of students. Ranchino

Declr. at ¶ 26.

                                       II.     ARGUMENT

A.      The Court Should Appoint a Receiver

        When assessing whether a federal equity receivership is appropriate in an adversarial

context, federal courts consider the following factors: “(1) the probability that fraudulent conduct

has occurred or will occur; (2) the validity of the claim by the party seeking the appointment; (3)

whether there is an imminent danger that property will be concealed, lost, or diminished in value;

(4) the inadequacy of [alternative] legal remedies; (5) the lack of a less drastic equitable remedy;

and (6) the likelihood that appointing the receiver will do more good than harm.” Aviation Supply

Corp. v. R.S.B.I. Aerospace, Inc., 999 F.2d 314, 316-17 (8th Cir. 1993) (discussing the factors

relevant to the receivership inquiry); see also 12 Charles Alan Wright, Arthur R. Miller & Richard

L. Marcus, Federal Practice and Procedure Civil § 2983 (2d ed. 1997).

        In regard to the first factor, Plaintiff herein has alleged that ECA has “defrauded the federal

government by representing that tuition, including without limitation, the Tuition Loans, would be
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used to pay for [Defendants’] operating expenses, including the amounts due [Plaintiff under] the

Leases.” See Complaint at ¶ 7. Plaintiffs also seek an equitable remedy – a constructive trust – to

avert potential damages related to the alleged fraud. While Defendants deny strenuously that any

fraud has occurred, it agrees with Plaintiff that an equitable remedy – the appointment of a

Receiver – is appropriate in this case. In any event, courts have held that where dire financial

circumstances justify the appointment of a Receiver, demonstrating fraud becomes a “non-factor.”

See D.B. Zwirn Special Opportunities Fund, L.P. v. Tama Broad., Inc., 550 F. Supp. 2d 481, 491

(S.D.N.Y. 2008) (Courts “[have] appointed receivers even where there was no evidence of

fraud.”); see, e.g., U.S. Nat’l Ass’n v. Nesbitt Bellevue Prop. LLC, 866 F. Supp. 2d 247, 251-54

(S.D.N.Y. 2012) (appointing a receiver in the absence of fraud where target faced imminent risk

of a loss of enterprise value). ECA’s dire financial circumstances are well documented herein.

       Second, ECA has valid defenses and a strong claim for equitable relief that will benefit

both parties herein, as well as ECA’s other creditors and stakeholders. As set forth in Defendants’

Answer to the Complaint, pursuant to O.C.G.A. § 44–7–51(b) a tenant’s answer to a dispossessory

proceeding “may contain any legal or equitable defense or counterclaim.” A tenant can raise an

equitable defense when dispossessing the tenant will be a hardship. See Davita, Inc. v. Othman,

270 Ga. App. 93, 96, 606 S.E.2d 112, 115 (2004). Equity jurisdiction exists to protect and provide

relief to parties when remedies available at law would be deficient or unjust. O.C.G.A. § 23-1-3.

Although it does not operate when there is an adequate legal remedy, if the legal remedy is

inadequate or incomplete, equity retains jurisdiction. O.C.G.A. § 23-1-4. Where equity jurisdiction

is properly invoked, the Court must exercise this jurisdiction to provide complete relief.

       Equity seeks always to do complete justice. Hence, having the parties before the Court

rightfully, it will proceed to give full relief to all parties in reference to the subject matter of the


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action, provided the court has jurisdiction for that purpose. O.C.G.A. § 23-1-7. The law commands

the Court to achieve full relief by “considering that done what ought to be done and direct[ing] its

relief accordingly.” O.C.G.A. § 23-1. A court can grant equitable relief to delay a dispossessory

action when there are special circumstances:

       It is fundamental, of course, absent special circumstances, such as, insolvency of
       the landlord, or inadequacy of any legal defense which could be interposed thereto,
       that equity will not interfere with a dispossessory proceeding to enjoin the same,
       since whatever defenses the tenant may have to such proceeding may be interposed
       in the dispossessory proceeding as readily as in a court of equity.

Lee v. Peck, 228 Ga. 448, 450 (1971); O.C.G.A. § 23-1-4

       Special circumstances may exist where immediate dispossession is a hardship on the tenant

and third parties. See Davita, 270 Ga. App. at 96. There is a hardship on the tenants when moving

would harm third parties and this harm is not a result of the tenant’s failure to act. See id. (finding

no hardship after a dialysis facility failed to renegotiate an expired lease for nearly six months);

see also Navajo Academy v. Navajo United Methodist Mission School, 109 N.M. 324, 785 P.2d

235 (1990) (extending a lease for three years to allow the school to find an alternative campus

without causing irreparable harm to current and future students).

       Although the instant action is not a dispossessory action, Plaintiff has filed a related

dispossession action against Defendants that is pending before this Court. See VC Macon, GA,

LLC v. Virginia College, LLC, Case No. 5:18-cv-00385-TES (M.D. Ga.).

       There are unique circumstances here that would not be present in a typical dispossessory

action. Virginia College’s campus in Macon, Georgia is a school where countless students are

currently enrolled and taking classes. If Virginia College is evicted, the hardship would fall on the

students, who could no longer focus on their education, but instead will suddenly be stranded and

unsure of the status of their education and degrees. The potential harm to the student body is not a


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result of Defendants’ failure to act. Defendants have been diligently attempting to fulfill its

obligations to both Plaintiff and its students.

       Accordingly, Defendants submit that they have demonstrated a likelihood of success on

their claims for equitable relief in the form of a receivership to take control of all of Defendants’

property in order to allow Defendants to remain in possession of the premises and their students

to remain enrolled at the Virginia College campus in Macon, Georgia until the students can

complete their educations and graduate.

       Third, ECA has established that there is an imminent threat that its property will be severely

diminished in value. Without the appointment of a receiver, ECA will be forced to close in the

near to immediate future, resulting in students’ education being disrupted and the loss of Title IV

funds and its other assets. If the receiver is not appointed, there will be no teach out and no recovery

for creditors. Thus, ECA faces imminent danger that its property will be diminished in value.

       The last three factors - the inadequacy of [alternative] legal remedies; the lack of a less

drastic equitable remedy; and the likelihood that appointing the receiver will do more good than

harm – all circle around the concept of balancing the equities among the persons who will be

burdened by and benefit from the receivership. With respect to the first of these factors, there are,

in fact, no other adequate legal remedies for the following reasons:

       •       Seeking protection in a traditional bankruptcy filing is simply not an option for
               ECA because a bankruptcy filing would immediately and permanently render ECA
               institutions ineligible to participate in the federal student aid programs authorized
               by the HEA, and ECA’s students would lose access to the federal grants and loans
               necessary to pay their tuition and fees (discharge of a portion of the student loan
               obligations falls far short of leaving the students unimpaired as the students will
               face the immediate disruption of their educational goals, challenges of transferring
               credits and delays in obtaining their sought after accredited degrees);

       •       ECA performs many management functions for its institutions, including, without
               limitation, finance, accounting, cash management, bulk purchasing of services and
               supplies, marketing, human resources and many other services, on account of which

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               the institutions are charged a fees by ECA. Accordingly, multiple receiverships
               over each institution would be impracticable, if not impossible, to administer under
               the circumstances of ECA’s business;

       •       A single federal receivership over this collective proceeding of competing interests
               among ECA’s stakeholders is the only available relief that would allow Plaintiffs
               to address these actions in a coordinated, consolidated fashion through application
               of 28 U.S.C. § 754 and 28 U.S.C. §1692; and

       •       This is not a case of a plain vanilla breach of contract case; instead, it is a case
               where a receiver is necessary to preserve the property for the benefit of ECA’s
               students and other stakeholders, see U.S. Bank Nat. Ass'n v. Nesbitt Bellevue
               Property LLC, 866 F. Supp. 2d 247, 256 (S.D.N.Y. 2012) (appointing a receiver to
               effectuate the foreclosure and liquidation of the properties that are spread over six
               states).

       Lastly, it is beyond dispute that appointing a receiver in this case will do more good than

harm. As set forth herein, the appointment of the Receiver will permit ECA to, inter alia, satisfy

its educational obligations to thousands of students at the Teach-Out Schools, preserve the

educational futures of students at the Go-Forward Schools, maximize enterprise value of the Go-

Forward Schools, prevent millions of dollars of loss to the Treasury in the form of discharge

obligations (which would be borne by taxpayers), provide significant adequate assurance to

numerous landlords, and allow for an orderly transition of Plaintiffs’ operations through the

Restructuring Plan. On the other hand, if the requested receivership relief is not granted, students

at both Teach-Out and Go-Forward Schools will see their educational plans disrupted, if not

altogether eliminated, the enterprise value of ECA’s Go-Forward Schools will be lost, the Treasury

(as supported by taxpayers) will be burdened with millions of dollars of discharge obligations, and

landlords will receive no further payments.




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         It is important to stress that, in circumstances similar to those of ECA, receivers have been

appointed in state court so that educational institutions could continue to disburse Title IV to enable

students to continue their educational programs. 3

B.       The Court Should Enter An Emergency TRO and Preliminary Injunctive Relief

         The standard for granting either a temporary restraining order (“TRO”) or preliminary

injunctive relief is the same. A TRO and preliminary injunctive relief are warranted, pursuant to

Federal Rule of Civil Procedure 65, if Defendants demonstrate that: (1) they have a substantial

likelihood of success on the merits; (2) they will suffer irreparable injury if the injunction is not

granted; (3) an injunction will not substantially injure other interested parties; and (4) an injunction

will further the public interest. See Winter v. Nat’l Res. Defense Council, 555 U.S. 7, 20 (2008)

(identifying factors for preliminary injunctive relief); see also, Jysk Bed’N Linen, 810 F.3d 767,

774 (11th Cir. 2015) (listing preliminary injunction factors); see also, Nat’l Treasury Emps. Union

v. United States, 927 F.2d 1253, 1254 (D.C. Cir. 1991) (identifying preliminary injunction factors).

         The requested relief is warranted here because (a) there is a strong likelihood that the

equitable defenses raised by Defendants herein will succeed on the merits (as discussed above);

(b) the Defendant and its affiliated institutions, as well as their students, will suffer immediate and

irreparable harm unless the Receiver is immediately appointed to oversee and administer the

closure and teach-out of the Teach-Out Schools and the orderly disposition of their assets under

the supervision of this Court; (c) it is necessary to prevent a race to ECA’s assets, to enjoin eviction

proceedings, and to prevent a disruption of the teach-out process as required by the HEA; (d) the


3
  In one such instance, in the midst of high-stakes litigation that would render it inoperable, Vatterott Education, Inc.
sought the appointment of a receiver to continue operating its schools and facilitate a sale of its assets as a going
concern. The Receiver was appointed and the educational institutions have continued to provide Title IV for the
benefit of Vatterott’s students. See In re Vatterott Educ. Ctrs., Inc., No. 17SL-CC02316 (St. Louis Mo. Cir. Ct.
2017).


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Plaintiff will experience less harm than ECA in absence of the appointment of a receiver; and (e)

the public interest weighs heavily in favor of appointing a Receiver to permit Defendant and its

affiliates to continue their educational mission for the benefit of their students and to facilitate an

equitable distribution of ECA’s assets for the benefit of ECA’s creditors.

       The Defendant has no alternative legal remedy as seeking protection in a traditional

bankruptcy filing is simply not an option for ECA because a bankruptcy filing would immediately

and permanently render ECA institutions ineligible to participate in federal student aid programs

authorized by the HEA. If ECA filed for bankruptcy, ECA’s students would lose access to the

federal grants and loans necessary to pay their tuition and fees and face the immediate disruption

of their educational goals, challenges of transferring credits, delays in obtaining their sought after

accredited degrees, and inability to access Title IV funds to cover immediate living expenses, such

as rent, groceries, daycare expenses, etc. A single federal receivership over this collective

proceeding of competing interests among ECA’s stakeholders is the only available relief that

would allow ECA to address these actions in a coordinated, consolidated fashion through

application of 28 U.S.C. § 754 and 28 U.S.C. § 1692 .

       As noted above, without the immediate appointment of the Receiver, the Debtors face

imminent, irreparable harm due to their current financial vulnerability. This present action is one

of many landlord actions seeking to dispossess ECA from possession of its campuses and to

recover on alleged claims for monetary judgments, which are ongoing. In addition, ECA is subject

to other pending and threatened commercial and employment litigation and arbitration

proceedings. The immediate appointment of the Receiver will ensure that ECA is able to operate

to closure the Teach-Out Schools, restructure their capital structure, and attend to their debts in an

orderly fashion (and not have their resources, both personnel and financial, distracted from


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completing the teach-outs and preserving the value of the Go-Forward Schools) so that the ECA

can maximize enterprise value and permit the Go-Forward Schools to operate without the drag of

the legacy claims of landlords and other vendors arising from the Teach-Out Schools’ closure.

       The Plaintiff and other similarly situated landlords and creditors will suffer less harm than

the Defendant and its affiliates if the Receiver is immediately appointed and the TRO and

Preliminary Injunction are entered. The appointment of the receiver will enable ECA to, inter alia,

satisfy its educational obligations to thousands of students at the Teach-Out Schools, preserve the

educational futures of students at the Go-Forward Schools, stabilize the employment of ECA’s

3,200 employees, prevent many tens of millions of dollars of loss to the Treasury in the form of

student loan discharge obligations (which would be borne by taxpayers), provide significant

adequate assurance to numerous landlords, and allow for an orderly transition of Plaintiffs’

operations through the Restructuring Plan. On the other hand, if the requested receivership relief

is not granted, students at both Teach-Out and Go-Forward Schools will see their educational plans

disrupted, if not altogether eliminated, all of ECA’s 3,200 employees will be terminated, the

Treasury (as supported by taxpayers) will be burdened with millions of dollars of discharge

obligations, and landlords will receive no further payments.

       Public policy greatly favors protecting the ECA and its students. ECA’s student population

largely comprises nontraditional students such as unemployed or underemployed adults, seeking

to obtain job skills in order to find employment or to change careers. The immediate appointment

of the Receiver and the entry of an Order restraining and enjoining other claims will ensure that

ECA is able to fulfill the mission of educating students without the unnecessary disruption of the

students’ educational plans.




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       Defendant requests that from the time and date of the Proposed Receivership Order, a stay

of other actions asserting claims against ECA is in effect, enjoining:

       A.      The commencement or continuation, including the issuance, employment, or

               service of process, of a judicial, administrative, or other action or proceeding

               against ECA that was or could have been commenced before the entry of the order

               of appointment, or to recover a claim against the debtor that arose before the entry

               of the order of appointment;

       B.      The enforcement against ECA or any estate property of a judgment obtained before

               the order of appointment;

       C.      Any act to obtain possession of estate property from the receiver, or to interfere

               with, or exercise control, over, estate property;

       D.      Any act to create, perfect, or enforce any lien or claim against estate property except

               by exercise of a right of setoff, to the extent that the lien secures a claim against the

               debtor that arose before the entry of the order of appointment; or

       E.      Any act to collect, assess, or recover a claim against the debtor that arose before

               the entry of the order of appointment; provided, however, that Defendant and ECA

               do not seek to enjoin or otherwise interfere with the DOE’s or any accrediting

               agency’s supervision of ECA and enforcement of applicable rules and regulations.



       WHEREFORE, Defendant respectfully requests that the Court:

       A.              Immediately enter an Emergency Temporary Restraining Order and

                       Preliminary Injunction;

       B.              Immediately enter an order appointing a federal receiver; and


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     C.          Grant such other and further relief as the Court deems just and equitable.




DATE: November 6, 2018

                                       Respectfully submitted

                                     /s/ Alexander B. Feinberg________
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                                     /s/ Walker S. Stewart__________
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                                     Attorneys for Defendants Virginia College, LLC and
                                     Education Corporation of America




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                              CERTIFICATE OF SERVICE

               I hereby certify that on the 6th day of November, 2018, I electronically filed the

       foregoing with the Clerk of the Court by using the CM/ECF system which served notice

       of this electronic filing upon the following:


               Jon A. Gottlieb
               Flynn & Gottlieb, P.A.
               800 Johnson Ferry Road
               Atlanta, GA
               jong@lawfg.com

               Attorney for Plaintiff

                                                       /s/ Walker S. Stewart_______
                                                       OF COUNSEL




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


VC MACON GA, LLC

                               Plaintiff,

       v.

                                                              Civil Action No. 18-cv-00388-TES
VIRGINIA COLLEGE, LLC and
EDUCATION CORPORATION
OF AMERICA


                               Defendants.




  SUPPLEMENTAL DECLARATION OF MICHAEL RANCHINO IN SUPPORT OF
EMERGENCY MOTION FOR THE APPOINTMENT OF A RECEIVER AND ENTRY OF
                  A PRELIMINARY INJUNCTION


        I, Michael Ranchino, hereby declare and affirm the following, under penalty of perjury:

        1.      I am over twenty-one (21) years of age and otherwise competent to testify as

to the matters set forth herein. I have personal knowledge of the matters set forth herein.

        2.      I am an Executive Vice President and the Chief Financial Officer of

Education Corporation of America and Virginia College, LLC. My office address is 10 S.

Wacker Drive, Chicago, IL 60606.

        3.      I am submitting this Affidavit in support of the Emergency Motion for the

Appointment of a Receiver and for a Temporary Restraining Order and Preliminary

Injunction filed by Defendant Virginia College LLC and its affiliates Education Corporation

of America, Inc. and New England College of Business and Finance, LLC (“NECB” and
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together with Education Corporation of America and Virginia College LLC, “ECA” or the

“company”).

        4.       I earned my B.S. in Accounting from Illinois State University in 1993. I

have over twenty-five years of experience in the supply chain, strategy, accounting and

finance functions in the food distribution and retail industries. Before joining ECA in June

of 2018, I worked with US Foods for over 11 years in various financial positions, culminating

in the role of Senior Vice President for Supply Chain Operations. I have held my current

position at ECA for the last four months.

        5.       At ECA, I am responsible for managing the financial affairs of ECA and its

subsidiaries, including managing the company’s cash flow, supervising the preparation of the

company’s operating projections, analyzing the company's financial strengths and

weaknesses and proposing corrective actions and managing the finance and accounting

personnel and activities to ensure that the company’s financial reports are accurate and

completed in a timely manner. In my capacity as CFO of ECA, I have become familiar with

the company’s capital structure, its secured obligations, unsecured obligations and the several

layers of preferred and common equity. Further, I have become familiar with the books,

records and financial affairs of NECB, as NECB’s financial affairs comprise a part of ECA’s

consolidated financial affairs.

        6.       ECA is a holding company that owns 100% of the limited liability company

membership interests in Defendant Virginia College, LLC and NECB. ECA also indirectly

owns 100% of the equity interests in Culinard, LLC and J.Y. Monk Real Estate Training

Center, Inc., neither of which is party to a program participation agreement (“PPA”) with the

U.S. Department of Education (“DOE”) and neither of which receives federal student aid

funding under Title IV of the HEA.
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       7.         ECA operates at 74 campus locations in twenty (20) states, as well as on-line

programs.

       8.         All told, ECA currently has approximately 20,000 students enrolled in all of

its programs.

       9.         ECA employs approximately 3,200 people, including those employees that

participate in the delivery of academic programs and in ECA’s back office delivering shared

managed services to each of the campuses.

       10.        ECA has four campuses located in Georgia with approximately 1,163

students pursuing academic programs, with approximately 828 students attending Go-

Forward Schools (as defined below) and 335 students attending Teach-Out Schools (as

defined below).

       11.        ECA has approximately 251 employees in Georgia directly supporting

the students enrolled at the Georgia campuses.

       12.        ECA’s revenues for the 9 months ending September 30, 2018 totaled

approximately $313 million.

       13.        Attached to the Defendant’s Motion are Exhibits 3 and 4, representing

schedules of the campuses and their locations. Exhibit 3 is a list of the “Go-Forward

Schools”, which are those schools that can be stabilized and sold for long-term operations,

and Exhibit 4 is a list of the “Teach-Out Schools”, which are those 26 schools that are in the

process of teach-out leading to closure.

       14.        ECA provides a management platform to the institutions, including human

resources, accounting, finance, cash management and treasury, marketing, student aid,

academics, information technologies, purchasing, facilities management and other services

that support the students, campuses and the operation of the business.
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       15.      ECA institutions and students are eligible for federal student aid programs

under Title IV of the Higher Education Act of 1965 (“Title IV programs” and the “HEA”)

by virtue of ECA’s institutions being parties to PPAs.

       16.      ECA’s institutions operate in a highly regulated environment. They are

subject to oversight by various federal and state regulatory authorities including, most

prominently, the DOE, as well as their accrediting agencies.

       17.      Of the approximate 20,000 students, approximately 85% pay their tuition

through some form of Title IV federal student aid funding.

       18.      To my knowledge, the regulatory bodies that govern the ECA’s operations,

including but not limited to the DOE and the following State Authorities and Accrediting

Agencies, are aware of this receivership filing: Alabama Community College System;

Arizona State Board of Private Postsecondary Education; California Bureau of Private

Postsecondary Education; Colorado Division of Private Occupational Schools; Florida

Commission for Independent Education; Georgia Nonpublic Postsecondary Education

Commission; Indiana Board for Proprietary Education; Louisiana Board of Regents;

Maryland Higher Education Commission; Massachusetts Department of Higher Education;

Mississippi Commission for Postsecondary School and College Registration; Nevada

Commission on Postsecondary Education; North Carolina Community College System;

University of North Carolina Board of Governors; Ohio State Board of Career Colleges and

Schools; Ohio Department of Higher Education; Pennsylvania Board of Private Licensed

Schools; South Carolina Commission on Higher Education; Tennessee Higher Education

Commission; Texas Workforce Commission; Texas Higher Education Coordinating Board;

State Council of Higher Education for Virginia; Accrediting Council for Independent

Colleges and Schools (“ACICS”); and New England Commission on Higher Education, Inc.
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         19.    The DOE regulates ECA’s institutional participation in the federal student

financial aid programs authorized under Title IV of HEA. ECA’s institutions’ participation

in the Title IV programs enables their students to obtain federal student aid grants and loans.

As is the case throughout contemporary higher education, many of ECA’s students would not

be able to pursue postsecondary education without access to these funds.

         20.    ECA’s revenues flow almost exclusively from tuition and fees paid by its

students, a significant majority of whom utilize federal grants and student loans provided

under the HEA. Enrollment in many of ECA’s campuses has been falling for several

years.    The decline in enrollment can be attributed to numerous regulatory and

macroeconomic factors, including: the previous Administration’s decision to remove the

federal recognition of the ACICS, the agency that accredits nearly all of ECA’s

institutions, which required ECA to advise potential students of potentially dire

consequences if ECA was unable to obtain alternate accreditation within a specified time

frame, thereby causing some potential students to choose not to enroll or remain enrolled;

and the recent upturn in the business cycle that has lowered the unemployment rate to

historic levels, so that more of the nontraditional students typically enrolled in ECA’s

institutions are able to find employment without the need for more education or training.

         21.    Because ECA’s revenues are produced almost entirely by tuition and fees

paid by students, the enrollment decline has negatively impacted ECA’s financial

condition and cash flow. For months, ECA has not been able to timely service all of its

financial obligations or timely meet its payables. Prior to the commencement of this

proceeding, ECA was generally not paying its debts as they come due. ECA has been

focused on marshaling its dwindling financial resources to maintain its campuses and its

educational programs and services for its students.
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   22.      ECA’s current financial obligations are as follows:


           A.      On October 15, 2018, ECA entered into that certain Eighth Amendment to

   the Credit Agreement (as amended time to time, the “Monroe Credit Agreement”), with

   Monroe Capital Management Advisors, LLC (“Monroe”), as administrative agent and

   collateral agent, and each of the lender parties thereto (the “Monroe Lenders”).

           B.      Under the Monroe Credit Agreement, on October 15, 2018 the Monroe Lenders

   advanced $16 million to ECA (as amended from time to time, the “Monroe Term Loan”). As

   of the commencement of these proceedings the outstanding principal balance owing to the

   Monroe Lenders is $19 million.

           C.      All obligations under the Monroe Credit Agreement are secured by a first

   priority security interest in all of ECA’s assets, including all equity interests in ECA’s

   subsidiaries.

           D.      In connection with entering into the Eighth Amendment, ECA and the

   Monroe Lenders provided a mechanism for a $12 million tranche of funding to be advanced

   to the ECA receivership estate upon approval by the Court and, if needed, a second $7

   million tranche of funding to be advanced to the ECA receivership estate upon approval by

   the Court. The additional funding would provide the basis for ECA to continue to fund the

   costs of the Teach Out Schools to maintain educational services for all of those students,

   as well as stabilizing the Go Forward Schools to maintain their educational services.

           E.      Without having received funding on October 15, 2018, ECA would have

   been materially challenged to meet its payroll obligations during the week of October 15.

   ECA anticipates that it will require additional capital of $12 million by the middle of

   November 2018 and if needed, additional capital of $7 million in the middle of December
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        2018. Thereafter, beginning in January 2019, ECA projects that it will operate on a cash-

        flow-positive basis.

                F.      As of October 5, 2018, ECA had unsecured debt owing to 1,033 vendors

        and landlords amounting to approximately $46,773,000.

                G.      On October 26, 2018, I received a written commitment from certain of the

        Monroe Lenders to advance the $12 million tranche referred to above. This commitment

        letter reaffirms that the funding is available only upon the entry of an order by this Court

        at the request of a receiver.

        23.     In the ordinary course of its business, ECA’s institutions lease real estate to operate at

their various campuses and administrative offices. A list of ECA’s institutions’ leased real estate and

other locations is contained in Exhibit 2 to its Motion.

        24.     Several ECA campuses are presently the subject of landlord actions to recover on

alleged claims for monetary judgments, which are ongoing, as well as to dispossess ECA from

possession of such campuses. ECA has also received multiple notices of default, generally a precursor

to a lawsuit, across its campuses.

        25.     The landlords have been very aggressive. As of October 31, 2018, the company

received in excess of 50 default notices from landlords, 14 notices from landlords threatening to

exercise self-help and 12 pending lawsuits brought by landlords.

        26.     I understand that state regulatory approvals, accreditation approvals, and Title IV

eligibility are attached to specific physical locations. If the company is evicted from one location, it

cannot relocate to another location until that new location has received state regulatory and accrediting

agency approvals. Students enrolled at the new location cannot receive Title IV funding until the new

location has been approved as an eligible location by the DOE, which DOE would consider only after

the new location has obtained the required regulatory approvals. I understand that such approvals
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require at least several months to obtain and that the education of the students enrolled at the evicted

campus would be disrupted, potentially for an extended period of time or permanently.


        27.     As I understand the applicable laws and regulations, ECA has an obligation to

complete the educational program and deliver accredited degrees or diplomas to the students it

has enrolled at its campuses, even if ECA has determined to close a campus.

        28.      On or about September 5, 2018, ECA gave notice to the Department and on September

10, 2018 announced that it intended to cease enrolling new students at 26 of its campuses, teach-out

the students and close those campuses. ECA’s teach-out plans identify target dates to complete the

teach-out of the students and close the campuses. ECA believes that the target dates are outside dates

and that there are several strategies that ECA may employ to shorten the teach-out program at many of

its campuses, while complying with applicable laws, regulations and rules, and ECA intends to avail

itself of such opportunities in order to reduce the costs of the teach-out programs. ECA’s ability to

continue to operate in compliance with applicable laws, regulations and rules is dependent on its and

its students’ continued participation in Title IV programs.

        29.      ECA’s outstanding secured and unsecured obligations and lack of liquidity prohibit

ECA from generally paying their obligations as they come due. The projected costs and net revenues

associated with the Teach-Out Schools, as well as the significant claims of landlords upon the

termination of the Teach-Out School leases, will exacerbate ECA’s liquidity issues. Further, pending

lawsuits threaten to strain ECA’s ability to respond to claims of creditors. ECA needs to prevent a

rush to judgment and attachment on ECA’s assets, in order that the Receiver may run a marketing

process to sell the financially viable Go-Forward Schools while ensuring that the students in the Teach-

Out Schools have an opportunity to complete their programs.

        30.      ECA has operated through most of 2018 with negative cash flow. The company is

taking steps to turn the corner, but part of that restructuring plan involves obtaining additional funding
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and the sale of the Go-Forward Schools free and clear of the company’s pre-receivership obligations.

ECA believes that through a confluence of stabilization of enrollment and cost reductions, it can

see a path forward to a time beginning in January 2019 when ECA is projected to operate on a

positive cash flow basis.

       31.      I am familiar with the company’s operating projections through 2019. The projections

reflect a need for additional funding of approximately $35 million, of which ECA has already obtained

loans totaling $16 million, and assume that an additional $12 million will be funded in mid-November

and another $7 million in December should it be needed. The projections reflect that with those funds

in hand and with the company executing on mitigation strategies both pertaining to the teach-out and

other cost cutting measures, ECA will have sufficient funds to operate through January, after which

ECA will operate on a cash positive basis. The company’s 2019 projections reflect an operating profit

of $11.5 million including the costs of the closure of the Teach-Out Schools.

       32.      As of October 31, 2018, the company was obligated to approximately 1,033 vendors,

including landlords, totaling $47 million, including past due rent. Presently, on average, the company

is 3 months past due in the payment of rents.

       33.      ECA is not aware of any option that would permit the Go-Forward Schools to continue

to operate, other than to seek the restructuring of their operations and debts through a federal

receivership. A federal receivership, as I understand the process, is the only way in which ECA can

preserve the ability of the Go-Forward Schools to serve their students and the Teach-Out Schools to

fulfil their regulatory requirements to teach-out the students, while also permitting ECA’s directors

and officers to maximize the value of the ECA enterprise for the benefit of ECA’s creditors and other

stakeholders.

       34.      Without the protections provided by the creation of a single receivership estate and

the appointment of a single receiver and the requested stay and injunction, ECA’s institutions will not
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be able to complete the teach-out of the Teach-Out Schools or reorganize the Go-Forward Schools.

Our counsel has advised us that seeking protection through a traditional bankruptcy filing is not an

option for ECA, because the HEA under 20 U.S.C. § 1002 (a)(4)(A) specifically defines an “eligible

institution” as one that, inter alia, has not filed for “bankruptcy”.

        35.      ECA has determined that to operate successfully, it is imperative that ECA remain

eligible to participate in Title IV programs while it winds down the 26 Teach-Out Schools and

restructures in order to maximize enterprise value and permit the Go-Forward Schools to operate

without the drag of the legacy claims of landlords and other vendors that would arise if the Teach-Out

Schools were forced into sudden closure and otherwise from its excessive overhead.

        36.      Under the proposed restructuring plan, the Monroe Lenders, or certain of them have

orally offered to purchase the Go-Forward Schools and ECA’s management platform by credit bidding

their claims (exchanging their secured claims for equity in a new company that would purchase the

assets of ECA free and clear of such secured claims), plus assuming certain liabilities and certain

beneficial contracts and leases, plus using the purchased management platform to continue to

administer the Teach-Out Schools and pay the Teach-Out Schools’ negative operating cash flow,

pursuant to which ECA would transfer the Go-Forward Schools and management platform assets free

and clear of all claims, liens and encumbrances. I estimate the burden of enabling students to complete

their programs at the Teach-Out Schools to be $5 million on whoever the buyer of the Go-Forward

Schools may be, assuming that the sale transaction is consummated on or about June 30, 2019.

        37.      On October 9, 2018, on behalf of ECA I signed an agreement with Parchman, Vaughan

& Co., L.L.C. (“Parchman Vaughan”) to engage Parchman Vaughan as investment banker to run a sale

process for the Go-Forward Schools. Parchman Vaughan has been performing its diligence and

populating a data room with a view of soliciting initial interests by Thanksgiving.
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       38.      The immediate appointment of a receiver and the entry of an injunction staying

and barring other claims is necessary to prevent ECA and its approximately 20,000 students from

suffering immediate and irreparable harm. A receiver is necessary to the orderly oversight and

administration of the teach-out and delivery of educational programs to students enrolled at the

Teach-Out Schools and, after closure of those campuses, the orderly disposition of their assets

under the supervision of this Court. The entry of a Preliminary Injunction, including an injunction

against eviction proceedings, as I understand it, is necessary to prevent a race to ECA’s assets and

the resulting disruption of the teach-out process to the detriment of thousands of students.

       39.      ECA faces imminent, irreparable harm due to their current financial vulnerability. As

set forth above, several of the ECA’s campuses are presently the subject of landlord actions to

dispossess ECA from possession of such campuses and to recover on alleged claims for monetary

judgments, which are ongoing.

       40.      The immediate appointment of a receiver and entry of an order restraining and

enjoining these claims will ensure that ECA is able to operate to the orderly closure of the Teach-Out

Schools and attend to their debts in an orderly fashion to maximize enterprise value and permit the Go-

Forward Schools to operate without the drag of the legacy claims of landlords and other vendors that

would arise if the Teach-Out Schools were forced into a sudden closure. The chart below presents a

comparison of certain statistics of ECA and compares them to ECA’s anticipated outcome in the event

a receiver is appointed or if a receiver is not appointed and ECA is forced to commence bankruptcy.

The avoidance of harm to ECA’s 20,000 students through the appointment of a receiver is striking.


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                                                               GO‐FORWARD SCHOOLS


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Brightwood Career Institute                                     Broomall                       PA       ACICS      00778100       00170949
Brightwood Career Institute                                     Harrisburg                     PA       ACICS      00491000       00011179
                                 Brightwood Career Institute    Philadelphia                   PA       ACICS      00491001       00010863
Brightwood Career Institute                                     Philadelphia (Phila. Mills)    PA       ACICS      02289800       00171004
Brightwood College                                              Salida (Modesto)               CA       ACICS      02306300       00223669
Brightwood College                                              San Diego                      CA       ACICS      02091700       00173481
                                 Brightwood College             Chula Vista                    CA       ACICS      02091702       00173481
Brightwood College                                              Van Nuys (Los Angeles)         CA       ACICS      02539100       00171031
                                 Brightwood College             Riverside                      CA       ACICS      02539102       00171052
Brightwood College                                              Vista                          CA       ACICS      02549000       00171049
Brightwood College                                              Hammond                        IN       ACICS      02201800       00010363
                                 Brightwood College             Indianapolis                   IN       ACICS      02201806       00180852
Brightwood College                                              Baltimore                      MD       ACICS      00749100       00235508
Brightwood College                                              Beltsville                     MD       ACICS      02083600       00223659
Brightwood College                                              Towson                         MD       ACICS      01041000       00223674
Brightwood College                                              Las Vegas                      NV       ACICS      03043200       00171016
Brightwood College                                              Nashville                      TN       ACICS      02326200       00171034
                                 Brightwood College             Charlotte                      NC       ACICS      02326203       00170959
Brightwood College                                              Dallas                         TX       ACICS      03272300       00170992
Brightwood College                                              El Paso                        TX       ACICS      02591900       00170998
                                 Brightwood College             Brownsville                    TX       ACICS      02591905       00170956
                                 Brightwood College             El Paso (Lee Trevino)          TX       ACICS      02591904         N/A
Brighwood College                                               Houston                        TX       ACICS      02312200       00010164
                                 Brightwood College             Friendswood                    TX       ACICS      02312202       00016302
Brightwood College                                              San Antonio (Ingram)           TX       ACICS      03115800       00171010
                                 Brightwood College             Laredo                         TX       ACICS      03115802       00171019
Brightwood College                                              San Antonio (San Pedro)        TX       ACICS      00946600       00173484
                                 Brightwood College             Corpus Christi                 TX       ACICS      00946609       00170989
                                 Brightwood College             Fort Worth                     TX       ACICS      00946610       00171001
                                 Brightwood College             McAllen                        TX       ACICS      00946607       00171025
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New England College of Business 
                                                              Boston                        MA          NECHE        03965300         N/A
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Virginia College                                              Birmingham                    AL           ACICS       03010600       00010582
                                   Virginia College           Jacksonville                  FL           ACICS       03010618       00024563
                                   Virginia College           Augusta                       GA           ACICS       03010619       00024697
                                   Virginia College           Savannah                      GA           ACICS       03010627       00045919
                                   Virginia College           Greensboro                    NC           ACICS       03010634       00165129
                                   Virginia College           Florence                      SC           ACICS       03010633       00145523
                                   Virginia College           Greenville                    SC           ACICS       03010617       00023959
                                   Virginia College           North Charleston              SC           ACICS       03010620       00024833
                                   Virginia College           Knoxville                     TN           ACICS       03010630       00108695
                                   Virginia College           Lubbock                       TX           ACICS       03010636       00221316
                                   Virginia College           Richmond                      VA           ACICS       03010625       00043594
                                   Golf Academy of America    Carlsbad (San Diego)          CA           ACICS       03010611       00011174
                                   Golf Academy of America    Apopka (Orlando)              FL           ACICS       03010612       00011148
                                   Golf Academy of America    Myrtle Beach                  SC           ACICS       03010614       00015752
                                   Golf Academy of America    Farmers Branch (Dallas)       TX           ACICS       03010629       00093164

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ACICS = Accrediting Council for Independent Colleges and Schools
NECHE = New England Commission of Higher Education (formerly NEASC Commission on Institutions of Higher Education)
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Brightwood Career Institute            Pittsburgh                   PA        ACICS          00743600           00011256
Brightwood College                     Sacramento                   CA        ACICS          02351900           00011298
Brightwood College                     Bakersfield                  CA        ACICS          02351901           00021867
Brightwood College                     Clovis (Fresno)              CA        ACICS          02306302           00171007
Brightwood College                     Palm Springs                 CA        ACICS          02549005           00171037
Brightwood College                     Dayton                       OH        ACICS          02052000           00235912
Brightwood College                     Arlington                    TX        ACICS          03272303           00170646
Brightwood College                     Beaumont                     TX        ACICS          03115803           00170918
Virginia College                       Huntsville                   AL        ACICS          03010602           00010424
Virginia College                       Mobile                       AL        ACICS          03010607           00019670
Virginia College                       Semmes                       AL        ACICS          03010638           00259605
Virginia College                       Montgomery                   AL        ACICS          03010616           00023668
Virginia College                       Fort Pierce                  FL        ACICS          03010635           00173613
Virginia College                       Pensacola                    FL        ACICS          03010608           00019669
Virginia College                       Columbus                     GA        ACICS          03010628           00062295
Virginia College                       Macon                        GA        ACICS          03010623           00040822
Virginia College                       Baton Rouge                  LA        ACICS          03010624           00041407
Virginia College                       Bossier City (Shreveport)    LA        ACICS          03010632           00141660
Virginia College                       Biloxi                       MS        ACICS          03010610           00022050
Virginia College                       Jackson                      MS        ACICS          03010603           00018779
Virginia College                       Tulsa                        OK        ACICS          03010631           00073373
Virginia College                       Columbia                     SC        ACICS          03010621           00034181
Virginia College                       Spartanburg                  SC        ACICS          03010626           00043122
Virginia College                       Chattanooga                  TN        ACICS          03010606           00023095
Virginia College                       Austin                       TX        ACICS          03010604           00019779
Golf Academy of America                Chandler (Phoenix)           AZ        ACICS          03010613           00012797
Ecotech Institute                      Aurora (Denver)              CO        ACICS          03010622           00036670

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